                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

Jeffrey Orenstein, on behalf of himself and all
others similarly situated,
                                                       CASE NO. 1:23-cv-00391-SH
                         Plaintiff,

            v.

Spruce Services, Inc.,

                         Defendant.


                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Jeffrey Orenstein (“Plaintiff”)

and Spruce Services, Inc. (“Defendant”) hereby jointly stipulate to the dismissal of this matter with

prejudice, with each party to bear their own costs, expenses, and attorneys’ fees. The Parties

respectfully request that this case be terminated and closed.

       Date: September 17, 2024               /s/ Alex D. Kruzyk
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